       Case 2:09-cr-00543 Document 6 Filed on 06/23/09 in TXSD Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §            C.R. NO. C-09-533M
                                                 §
CHAD WESEVICH                                    §


                         ORDER OF DETENTION PENDING TRIAL

        On June 23, 2009, a detention hearing was held in accordance with the Bail Reform Act,

18 U.S.C. § 3142(f). Defendant, a convicted felon, has been charged with unlawfully possessing

eight firearms in violation of 18 U.S.C. § 922. The following requires detention of defendant

pending trial in this case:

        (1)     There is not any condition or combination of conditions that will reasonably

assure the appearance of the defendant and the safety of the community as required.

        The evidence against defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report are adopted.

        Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal. Defendant shall

be afforded a reasonable opportunity for private consultation with defense counsel. On order of

a court of the United States or on a request of an attorney for the Government, the person in

charge of the corrections facility shall deliver defendant to the United States Marshal for the
      Case 2:09-cr-00543 Document 6 Filed on 06/23/09 in TXSD Page 2 of 2




purpose of an appearance in connection with a court proceeding.

       ORDERED this 23rd day of June 2009.



                                           ____________________________________
                                           BRIAN L. OWSLEY
                                           UNITED STATES MAGISTRATE JUDGE




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